                         Case 4:13-cr-00255-KGB Document 13 Filed 10/25/13 Page 1 of 1
AO 442 (Rev. 01/09) Arrest Warrant

                                                                                                                     FILED
                                                                                                          U.S. DISTRICT COURT
                                        UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT ARI<ANSA/1'

                                                            for the                                         OCT 25 2013
                                                 Eastern District of Arkansas
                                                                                              JAMESW.
                                                                                              By:
                                                                                                  ----~~~~~~

                  United States of America
                                v.
                                                              )       r30 q _0<113- 13lP~- T
                                                              )
                      Jairo Hernandez                         )        Case No.        4: 13CR00255-0f_l(GB
                                                                                                           I'>
                                                              )
                            Defendant                         )


                                                  ARREST WARRANT                                                       N
                                                                                                                               ..
To:      Any authorized law enforcement officer                                                             ~ ':.
                                                                                                         : r·l
                                                                                                         ;-J:. :.      f'..)
         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge witho¥unnecr-§sar)r-delay
                                                                                                   N            ~.

(name ofperson to be arrested)                           Jairo Hernandez                    (cJ


who is accused of an offense or violation based on the following document filed with the court:

[X] Indictment     0 Superseding Indictment D Information D Superseding Information 0 Complaint
0 Probation Violation Petition 0 Supervised Release Violation Petition 0 Violation Notice 0 Order of the Court



This offense is briefly described as follows: 18 USC 2422(b): Coercion and Enticement of a minor to engage in a
criminal sexual offense, 18 USC 2423(a): Transportation of a minor with intent the minor engage in any sexual
activity, as further explained in the attached documents.




Date: September 12, 2013


City and state:      Little Rock, Arkansas                        JAMES W. MCCORMACK, CLERK, EASTERN DIST. OF ARKANSAS
                                                                                       Printed name and title

                                                           Return

         This warraiJ.t was rec~ivFd on (date)   ~­               , and the person was arrested on (date)       tOlzz/13
at (city and state) . .l<\J-S5d\v\ \1! Ail
~elfv rP: Mar'lf.Y .-h-· f.,r. CP ·
                                      1


Date:   Js?.p-2-lB______
